Case 2:04-cr-20460-STA Document 3 Filed 05/05/05 Page 1 of 2 Pa e|D 6

UNITED sTATEs DlsTRICT COURT
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WEsTERN DISTRICT oF TENNESSEE _, d ,,: m
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UNITEI) sTATEs oF AMERICA . _
CR. No. 04'-§0460-Bre '

VS.

CHRISTOPHER M. WALDEN,

APPLICATION. ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM
The United States Attorney’s Office applies to the Court for a Writ to have Christopher M.
Walden, No. 181628, now being detained in the Shelby County Jai], appear before the Honorable
Diane K. Vescovo, on Wednesday, May ]1, 2005, at 2:00 p.m., for an Initial Appearance and
for such other appearances as this Court may direct.

Respectfully submitted, this 5th day of May, 2005.

 

v/K_W
/r/n\/IOTHY R.“D“isci§\tzA

Assistant U. S. Attorney
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Upon consideration of the foregoing Application, David Jolley, U.S. Marshal, Western
District of Tennessee, Memphis, TN Sberiff/Warden, Shelby County Jail.

YOU ARE HEREBY COMMANDED to have Christopher M. Walden, No. 181628,
appear before the Honorable Diane K. Vescovo at the date and time aforementioned

ENTERED this 5th day of May, 2005_

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UNITED STATES MAGISTRATE JUDGE

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Thls document entered on the docket sheet in compt»m\c».= i\/

with ama 55 and.for 32(b) Fsch on § 9 edf

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CR-20460 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

